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                             United States District Court
                              Middle District of Florida
                                Jacksonville Division

UNITED STATES OF AMERICA

v.                                                      NO. 3:17-cr-147-J-32PDB

MIGUEL PACHECO-LOPEZ


                                 Clerk’s Minutes

 Proceeding                    Change-of-Plea
 Date                          November 21, 2017
 Time                          10:49―11:36 a.m.
 Judge                         Patricia Barksdale, United States Magistrate Judge
 Courtroom Deputy              Angela Loeschen, Courtroom Deputy
 Counsel for United States     Chip Corsmeier, Assistant United States Attorney
 Counsel for Defendant         Waffa Hanania, Assistant Federal Defender
 Interpreter                   Herminia Tomasa Ajpacaja, K’iche Interpreter
                               Notice Regarding Entry of Guilty Plea, Notice of
 Filed in Open Court
                               Maximum Penalties

Ms. Loeschen placed Ms. Ajpacaja and Mr. Pacheco-Lopez under oath.

Judge Barksdale asked Mr. Pacheco-Lopez questions to assess competency.

Judge Barksdale asked Mr. Pacheco-Lopez and Ms. Hanania questions about Mr.
Pacheco-Lopez’s waiver of his right to have a district judge hear his plea directly.
Judge Barksdale found he voluntarily, knowingly, and intelligently waived that right
and accepted for filing a written waiver.

Mr. Pacheco-Lopez entered a plea of guilty to count one of the indictment.

Following a Federal Rule of Criminal Procedure 11 colloquy, Judge Barksdale found
that Mr. Pacheco-Lopez was alert and that he knowingly, intelligently, and
voluntarily entered his guilty plea.

Judge Barksdale will issue a report and recommendation. The parties agreed to waive
the 14-day period to object to it.

The Honorable Timothy Corrigan will review the report and recommendation and, if
adopted, will schedule a sentencing hearing.
